     2:22-cv-00874-DCN          Date Filed 06/06/22      Entry Number 14        Page 1 of 15




                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                   CHARLESTON DIVISION

MST, LLC,                                         )          Civil Action No. 2:22-cv-874-MBS
                                                  )
                                       Plaintiff, )
                                                  )
             vs.                                  )            DEFENDANT GEORGETOWN
                                                  )             MEMORIAL HOSPITAL’S
North American Land Trust and Georgetown          )               MOTION TO DISMISS
Memorial Hospital,                                )
                                                  )
                                    Defendants. )
                                                  )

       Defendant Georgetown Memorial Hospital (“GMH”), hereby moves this Court to dismiss

Plaintiff’s claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure because Plaintiff

lacks standing to pursue the claim alleged.

                                        INTRODUCTION

       This action arises out of a dispute involving a 1995 Conservation Easement placed on a

tract of land known as Weehaw Plantation (“Weehaw”) and the subsequent Amendment of that

Conservation Easement that released 56.75 acres of land from the restrictions of the easement.

That land released from the Conservation Easement was later sold to GMH, a 501(c)(3) not-for-

profit community hospital.

       This lawsuit, brought by MST, LLC (“MST” or “Plaintiff”) seeks a declaratory judgment

that the Amendment to the Conservation Easement is invalid and that the 56.75 acres of property

purchased by GMH is still subject to, and fully encumbered by the Conservation Easement. MST

claims its purpose for bringing this action is to protect the environmental, conservation, and open

space values reflected in the easement. However, the real purpose of MST’s suit is to thwart the
     2:22-cv-00874-DCN        Date Filed 06/06/22     Entry Number 14       Page 2 of 15




potential development of GMH’s property and prevent the property from being used in a manner

that MST and other neighboring landowners perceive will lower their own property values.

       MST has known of GMH’s plans to develop the property at issue in the case since MST

purchased Weehaw in 2010. In 2008, before MST’s purchase of Weehaw, the Amendment to the

Conservation Easement was recorded and the GMH property was rezoned to allow the property to

be developed as a hospital. However, since purchasing Weehaw Plantation in 2010, MST has idly

sat by, without protest, apparently willing to allow GMH to pursue the development of a hospital

campus on the property at issue. It was only when GMH decided not to build a hospital on the

land and instead sell it to a developer to construct affordable housing that MST opposed the

development and filed this lawsuit claiming the Amendment was invalid and that GMH’s property

was still encumbered by the Conservation Easement.

       MST does not own the property on which it seeks to enforce the conservation easement—

GMH does. Nor does MST fit any other category of persons that have standing to enforce a

conservation easement under Section 40(A) of the South Carolina Conservation Easement Act.

As such, MST lacks standing to pursue its declaratory judgment action against North American

Land Trust (“NALT”) and GMH, and this case should be dismissed pursuant to Fed. R. Civ. P.

12(b)(6).

                        FACTUAL AND PROCEDURAL BACKGROUND

       In 1988, Larry and Judy Young acquired several hundred acres of land in Georgetown,

South Carolina known as Weehaw Plantation. (Compl., Ex. 1 at p. 1). Several years later, on

December 29, 1995, the Youngs granted NALT a conservation easement by way of an executed

Conservation Easement and Declaration of Restrictive Covenants (“Conservation Easement”) on

approximately 788 of the 932.56 acres that made up Weehaw. (Compl. ¶ 7).




                                               2
     2:22-cv-00874-DCN         Date Filed 06/06/22      Entry Number 14        Page 3 of 15




         Beginning in 2008, an exhaustive study of possible sites for the new Georgetown public

hospital was conducted. (See Compl., Ex. 3, at p. 2). Due to site selection criteria including

wetland areas, elevation, and other infrastructure considerations, it was determined that a portion

of Weehaw was the best site for a potential hospital development. (Id.). GMH subsequently

approached the Youngs to inquire about purchasing approximately 65 acres of Weehaw Plantation

to construct a new hospital campus. On November 10, 2008, while the Youngs and GMH were

negotiating GMH’s purchase of 65 acres of Weehaw Plantation, Georgetown County passed

Ordinance No. 2008-65 which rezoned portions of Weehaw Plantation from residential and general

commercial to the Georgetown Memorial Hospital Weehaw Campus Planned Development

(“Planned Development”). (Compl. ¶ 20).

         On December 19, 2008, the Youngs and NALT amended the Conservation Easement (“the

Amendment”) to release 56.75 acres of upland property from the restrictions contained in the

easement in exchange for further encumbering approximately 35 acres of waterfront property in

Weehaw by giving up the right to develop five homesites, which were originally permitted to be

constructed under the 1995 Conservation Easement. (See Compl., Ex. 3, at p. 2; Compl, Ex. 1, at

p. 5).   Before executing the Amendment, NALT determined that amending the Conservation

Easement in this manner would “have a greater ecological benefit and further advance and protect

the Conservation Purposes of the Conservation Easement.” (Compl., Ex. 3 at p. 2).

         On December 30, 2008, GMH purchased 65 acres of upland property from the Youngs

(“Hospital Property”), 56.75 acres of which were released from the Conservation Easement as a

result of the Amendment and 8.25 acres of which were never subject to the Conservation

Easement. (Id. at ¶ 18-19). The Amendment was recorded with the Georgetown County Register

of Deeds the same day that GMH purchased the Hospital Property. (Compl., Ex. 3). The




                                                3
     2:22-cv-00874-DCN         Date Filed 06/06/22      Entry Number 14      Page 4 of 15




Amendment made clear that at the time GMH purchased the Hospital Property, it “need[ed] to

relocate its Georgetown Memorial Hospital campus due to the inability to expand in its current

location due to geographic restraints,” and that GMH intended to build a new hospital campus on

the Hospital Property. (Id., at p. 3). However, neither the Amendment, nor any other instrument

restricted GMH’s use of the Hospital Property. GMH was free to use, develop, and/or sell the

Hospital Property for any purpose, subject to the appropriate zoning.

       On June 16, 2010, MST purchased approximately 687.20 acres of Weehaw Plantation from

the Youngs as evidenced by the deed recorded June 21, 2010 in the Georgetown County Register

of Deeds Book 1497 at Page 342. The deed transferring title of Weehaw from the Youngs to MST

stated that MST purchased the property subject to the Conservation Easement and the Amendment.

As such, when MST purchased Weehaw, it had notice of both the Conservation Easement and the

Amendment, the latter of which removed 56.75 acres of the Hospital Property from the

Conservation Easement and stated GMH’s intent to develop the Hospital Property. For nearly

eleven years, MST did not contest the potential development of the Hospital Property, despite it

being clear that GMH intended to use the property as the site of a hospital campus or some other

commercial use. (See Compl. ¶ 20, 25).

       Due to a change in circumstances, including economic constraints and changes to the

hospital system’s overall strategic plan, GMH did not build a new hospital campus on the Hospital

Property, but rather renovated and expanded its already existing Georgetown Memorial Hospital

campus. No longer needing to develop the Hospital Property, GMH contracted to sell the Hospital

Property to a developer who planned to use the property for affordable multifamily housing. 1 On



1
 It is well documented in the public record that the lack of affordable housing in Georgetown,
South Carolina has hindered the town’s economic growth and prevented the town and its
businesses from expanding the workforce.


                                                4
     2:22-cv-00874-DCN          Date Filed 06/06/22      Entry Number 14    Page 5 of 15




February 19, 2021, GMH applied to Georgetown County for an amendment to the Planned

Development to allow for multifamily housing. (See Compl. ¶ 21). It was not until this occurred—

approximately 11 years after MST purchased Weehaw with the knowledge that Hospital Property

would be developed—that MST opposed GMH’s rezoning of the Hospital Property on the grounds

that it was still encumbered by the Conservation Easement and could not be developed. (See id.).

Once MST realized that GMH did not intend to build a hospital on the Hospital Property, but that

the property would be used for affordable housing, only then did MST try to declare the

Amendment invalid.

       After MST learned that GMH intended to sell the Hospital Property for use as affordable

housing, it and other neighboring landowners wrote letters to Georgetown County protesting the

proposed zoning amendment. (See Compl. ¶ 25). Because of these protests, the zoning amendment

failed to pass during its third public reading at a Georgetown County Council Meeting on May 25,

2021 despite the Planning Commission previously recommending the amendment and the County

Counsel unanimously approving the amendment during the amendment’s first and second public

readings. (See Compl. ¶ 28). As a result of the zoning amendment failing to pass, GMH’s contract

to sell the Hospital Property for affordable housing fell through.

       On March 16, 2022—out of concern that the Hospital Property would be sold and/or

developed in a manner that MST and other neighboring landowners deemed unfit or developed in

a manner that would reduce their own property value—MST filed its declaratory judgment action,

seeking a declaration from this Court that the Amendment to the Conservation Easement was

invalid and that the Hospital Property remains subject to the restrictions contained in the

Conservation Easement.




                                                 5
     2:22-cv-00874-DCN           Date Filed 06/06/22       Entry Number 14         Page 6 of 15




                                       LEGAL STANDARD

        A claim must be dismissed pursuant to Rule 12(b)(6) when the plaintiff can prove “no set

of facts in support of his claim which would entitle him to relief.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 561 (2007). Rule 8(a) requires “‘more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.’” Advanced Pain Therapies LLC v. Hartford Fin. Servs. Grp., Inc., No.

3:14-CV-00050-MGL, 2014 WL 4402800, at *1 (D.S.C. Sept. 3, 2014) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). The complaint “must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Id. (internal quotation marks omitted).

“A claim is facially plausible when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. (internal

quotation marks omitted).       A complaint alleging facts that are “merely consistent with a

defendant’s liability . . . stops short of the line between possibility and plausibility of entitlement

to relief.” Id. (internal quotation marks omitted). Furthermore, although the court must accept as

true the complaint’s well-pleaded factual allegations, see Mylan Labs., Inc. v. Matkari, 7 F.3d

1130, 1134 (4th Cir. 1993), “conclusory allegations are not entitled to an assumption of truth, and

even those allegations pled with factual support need only be accepted to the extent that they

plausibly give rise to an entitlement to relief.” Advanced Pain Therapies, 2014 WL 4402800, at

*1 (internal quotation marks omitted).

        Generally, “a dismissal for lack of statutory standing is effectively the same as a dismissal

for failure to state a claim.” CGM, LLC v. BellSouth Telecommunications, Inc., 664 F.3d 46, 52

(4th Cir. 2011). “Statutory standing ‘applies only to legislatively-created causes of action’ and

concerns ‘whether a statute creating a private right of action authorizes a particular plaintiff to

avail herself of that right of action.’” Id. (quoting Radha A. Pathak, Statutory Standing and the




                                                   6
        2:22-cv-00874-DCN       Date Filed 06/06/22     Entry Number 14         Page 7 of 15




Tyranny of Labels, 62 Okla. L. Rev. 89, 91 (2009)). The Fourth Circuit has “framed the statutory

standing inquiry as whether the plaintiff ‘is a member of the class given authority by a statute to

bring suit.’” Id. (quoting In re Mutual Funds Investment Litigation, 529 F.3d 207, 216 (4th Cir.

2008)).

                                          ARGUMENT

MST’s claim should be dismissed because MST lacks standing to bring the claim alleged.

          South Carolina adopted the Uniform Conservation Easement Act (“UCEA”) in 1991. See

S.C. Code Ann. § 27-8-10 et seq. Section 27-8-40(A) of the UCEA expressly limits who may

bring “[a]n action affecting a conservation easement” to the following:

   (1) an owner of an interest in the real property burdened by the easement;

   (2) a holder of the easement;

   (3) a person having a third-party right of enforcement; or

   (4) a person otherwise authorized by law.”

This action is one that affects a conservation easement as the outcome determines whether the

Conservation Easement exists on the Hospital Property. Because MST does not fall under any of

the four enumerated categories of persons that have standing to bring an action affecting a

conservation easement, this suit cannot continue.

   I.        MST is not an owner of an interest in the real property burdened by the
             easement.

          Under the UCEA, the first category of persons or entities that has standing to bring an

action affecting a conservation easement is “an owner of an interest in the real property burdened

by the easement.” S.C. Code Ann. § 27-8-40(A)(1). MST does not fall under this category, and

therefore does not having standing to bring this lawsuit under Section 27-8-40(A)(1).




                                                 7
     2:22-cv-00874-DCN          Date Filed 06/06/22      Entry Number 14        Page 8 of 15




   A. To have standing under Section 27-8-40(A)(1), one must own the property that is the
      subject of the enforcement action.

       South Carolina has no case law interpreting the standing provision contained in the UCEA,

nor does it have any case law that otherwise defines which individuals or entities fall within the

category of persons set forth in 27-8-40(A)(1). The only case that appears to have dealt with this

issue directly is Estate of Robbins v. Chebeague & Cumberland Land Trust, 2017 ME 17, 154

A.3d 1185 (Me. 2017). Although the case was decided by the Supreme Court of Maine, the

pertinent facts and the issues presented in Estate of Robbins are similar to those present in this

case, and as such it should carry a significant weight of authority.

       The conservation easement at issue in Estate of Robbins was created by deed in 1997. Id.

at ¶ 2, 154 A.3d at 1187. Marion Payson was the grantor of the easement, and the grantee was

Cumberland Mainland and Islands Trust, Inc. Id. The holder of the easement at the time of the

lawsuit was Cumberland Mainland and Islands Trust, Inc.’s successor, Chebeague & Cumberland

Land Trust (the “Land Trust”). The land restricted by the easement comprised roughly 100 acres

of land on the coast of Cumberland, Maine. Id. The conservation easement's stated purpose was

to retain the property “predominantly in its scenic, natural, and open space condition for

conservation purposes and to prevent any use of the Property that will significantly impair or

interfere with the conservation values of the Property and the Property's natural resources and

associated ecosystems.” Id. The deed also specifically noted that the easement holder’s primary

purpose was to “promot[e] for the benefit of the general public the preservation of natural resources

in the Town of Cumberland and County of Cumberland, including land and water resources, the

plant and animal life thereon, and unique scenic, natural, and historic sites.” Id. at ¶ 3, 154 A.3d

at 1188.




                                                  8
     2:22-cv-00874-DCN          Date Filed 06/06/22      Entry Number 14        Page 9 of 15




       At the time of the lawsuit, and following several conveyances, Ms. Payson’s estate (“the

Estate”) owned only a portion of the original 100 acres of land subject to the conservation

easement. Id. at ¶ 4, 154 A.3d at 1188. The Town of Cumberland (the “Town”) had purchased

another part of the 100 acres subject to the easement, which it acquired after the easement was

created. Id. The Town sought to use its part of the 100 acres for a public beach and planned to

construct a parking lot, resurface the existing access road with reclaimed asphalt, relocate an

existing bath house, and add portable toilets. Id. at ¶ 5, 154 A.3d at 1188. The Land Trust, as

holder of the easement, informed the Town that its plans were permitted under the terms of the

conservation easement. Id. at ¶ 6, 154 A.3d at 1188. The Estate, although not an owner of the

land at issue, took the position that the Town’s plan did not comply with the terms of the

conservation easement and that the Land Trust was violating its obligations as holder of the

easement. Id. at ¶ 7, 154 A.3d at 1188. The Estate filed suit in the Superior Court of Maine against

the Land Trust and the Town seeking a declaratory judgment that the Town’s plans violated the

terms of the conservation easement, injunctive relief, damages, and costs. Id. After the Estate

filed suit, the Town and Land Trust moved to dismiss the case on grounds that the Estate lacked

standing to initiate an action to enforce the conservation easement as it relates to the Town’s

property. Id.

       Like South Carolina, Maine also adopted the UCEA, and the language in Maine’s statute

is identical to the language in S.C. Code Ann. § 27-8-40(A)(1). Compare 33 M.R.S. § 478(1)(A)

(2016) with S.C. Code Ann. § 27-8-40(A)(1) (both granting standing to “[a]n owner of an interest

in the real property burdened by the easement”). The Superior Court of Maine “interpreted the

statutorily provided grant of standing, which applies to an owner of an interest in the real property

burdened by the easement, . . . and concluded that the statutory language does not include owners




                                                 9
    2:22-cv-00874-DCN           Date Filed 06/06/22       Entry Number 14       Page 10 of 15




of other unrelated property that happens to be burdened by the same easement.” Id. at ¶ 8, 154

A.3d at 1188 (emphasis added). As such, the Estate did not have standing to enforce the

conservation easement on the Town’s property, even though both parcels were subject to the same

conservation easement. See id.

       The Supreme Court of Maine reviewed the Superior Court’s decision de novo, and

affirmed, holding that the provision did not confer standing to the Estate. Id. at ¶ 21, 154 A.3d at

1191. In doing so, the Supreme Court analyzed the legislative history of the statute at length and

concluded that it was “not persuaded that the Legislature intended to hinder a competent

conservation easement holder’s ability to carry out its responsibilities by authorizing expensive

and complicated enforcement lawsuits to be prosecuted by any party who happens to own land

that is also subject to the conservation easement.” Id. at ¶ 30, 154 A.3d at 1194. The Supreme

Court of Maine also reasoned, that allowing owners of separate but neighboring land subject to the

same conservation easement “could permit individuals to thwart the public purposes of a

conservation tool and instead use that tool to advance their own private interests.” Id. at ¶ 28 n.9,

154 A.3d at 1193 n.9 (noting that such a result “could allow neighbors to extract a private benefit

(namely, the continuation of an easement arrangement that only serves the personal goals of

neighbors), when the purpose of the easement, the overall conservation easement authorization,

and the federal and state tax subsidies is to benefit the public”).

       B. The facts of this case are analogous to Estate of Robbins, and the same result
          should be reached here.

       The result reached here should be the same result that the Supreme Court of Maine reached

in Estate of Robbins. Like the land at issue in Estate of Robbins, the land at issue here—the

Hospital Property owned by GMH—was once part of a larger tract of land that was subject to a

conservation easement (i.e. Weehaw). Like the Estate, MST owns a portion of the larger tract of



                                                  10
    2:22-cv-00874-DCN         Date Filed 06/06/22      Entry Number 14       Page 11 of 15




land on which the Conservation Easement was formed. Additionally, in Estate of Robbins, the

Land Trust certified that the Town’s plans were permitted under the conservation easement, similar

to how NALT amended the Conservation Easement to remove the Hospital Property from the

restrictions imposed by the same. Finally, and most importantly, just how the Estate tried to

enforce the conservation easement on the land owned by the Town, MST is now attempting to

enforce a conservation easement on land owned by GMH. The Supreme Court of Maine has made

clear, that owners of unrelated property burdened by the same conservation easement, such as the

Estate and MST, are not “owners of an interest in the real property burdened by the easement” for

purposes of having standing to enforce a conservation easement under the UCEA.

   C. The policy considerations undergirding the Supreme Court of Maine’s ruling in
      Estate of Robbins are supported by finding that MST does not have standing under
      Section 27-8-40(A)(1).

       If this Court were to depart from the holding in Estate of Robbins, and find that MST has

standing to enforce the Conservation Easement on GMH’s property as an owner of an interest in

neighboring property burdened by the easement, it would permit MST to “thwart the public

purposes of a conservation tool and instead use that tool to advance their own private interests,”

which is exactly what the Supreme Court of Maine intended to avoid in Estate of Robbins. Id. at

¶ 28 n.9, 154 A.3d at 1193 n.9. The Conservation Easement and Amendment were both recorded

instruments in the Weehaw Plantation chain of title. As such, MST was aware of both the

Conservation Easement and the Amendment releasing the Hospital Property from the restrictions

of the easement when it purchased Weehaw in 2010. MST’s own pleadings state that building a

hospital on the Hospital Property would not have been permitted under the Conservation

Easement. However, during the 11 years that MST owned Weehaw before this dispute, it took no

action to prevent the development of a hospital, despite its own allegation that the Conservation

Easement prohibits any commercial use of the Hospital Property including the development of


                                               11
     2:22-cv-00874-DCN           Date Filed 06/06/22      Entry Number 14         Page 12 of 15




structures for medical office buildings, hospitals, and multifamily housing. (Compl. ¶ 22). It was

not until 2021, when GMH had a contract to sell the Hospital Property for affordable multifamily

housing, that MST cried foul, claimed that the Amendment was invalid, and claimed that the

Hospital Property is still subject to the restrictions contained in the Conservation Easement.

          MST claims it is seeking to declare the Amendment invalid and enforce the Conservation

Easement for conservation purposes. However, it is clear from the exhibits attached to MST’s

complaint that the true purpose of MST now trying to enforce the Conservation Easement on the

Hospital Property is that MST and other neighboring property owners are concerned that an

affordable housing development will reduce the value of their own properties. In other words,

MST is attempting to advance its own private interests and is using the Conservation Easement as

a pretext to do so. This is exactly what the Supreme Court of Maine was trying to avoid when it

affirmed the Superior Court’s holding that owners of other unrelated property that is burdened by

the same easement as the property against which enforcement is sought do not have standing to

enforce the conservation easement. As such, this Court should likewise find that MST does not

qualify as a person or entity who has standing under Section 27-8-40(A)(1).

    II.      MST is not a holder of the Conservation Easement.

          The second category of persons or entities that has standing to bring an action affecting a

conservation easement under the UCEA is “a holder of the easement.” S.C. Code Ann. § 27-8-

40(A)(1). Section 27-8-20(2) of the South Carolina Conservation Easement Act defines “Holder”

as “(a) a governmental body empowered to hold an interest in real property under the laws of this

State or the United States; or (b) a charitable, not-for-profit or educational corporation, association,

or trust the purposes or powers of which include one or more of the purposes listed in subsection




                                                  12
    2:22-cv-00874-DCN           Date Filed 06/06/22      Entry Number 14        Page 13 of 15




(1).” Here, the holder of the easement is NALT, not MST. MST therefore does not have standing

under Section 27-8-40(A)(2).

  III.      MST is not a person having a third-party right of enforcement as it relates to the
            Conservation Easement.

         The third category of persons or entities that has standing to bring an action affecting a

conservation easement under the UCEA is “a person having a third-party right of enforcement.”

S.C. Code Ann. § 27-8-40(A)(3).         Section 27-8-20(4) of the South Carolina Conservation

Easement Act defines “third-party right of enforcement” as “a right provided by the grantor of the

conservation easement to enforce selected terms of the conservation easement which is granted to

a governmental body, a charitable, not-for-profit, or educational corporation, association, or trust,

which though not the holder of the easement, is eligible to be the holder of such easement.”

         MST is not a governmental body, charitable, not-for-profit, educational association or trust

and therefore, is not eligible to receive a third-party right of enforcement. More importantly, the

language of the Conservation Easement expressly states that it does not create or convey any third-

party right of enforcement. (Compl, Ex. 1, at 7. (“no third party beneficiary rights, including but

not limited to third party rights of enforcement, are created hereby.”)). Because MST is not eligible

to receive a third-party right of enforcement, and because no third-party right of enforcement was

granted by the Conservation Easement, MST does not have standing under Section 27-8-40(A)(3).

  IV.       MST is not a person otherwise authorized by law to enforce the Conservation
            Easement.

         The fourth and final category of persons or entities that have standing to bring an action

affecting a conservation easement under the UCEA is “a person otherwise authorized by law.”

S.C. Code Ann. § 27-8-40(A)(4). The Drafting Committee of the UCEA explicitly references the

charitable trust doctrine’s qualification as “other law.” Unif. Conservation Easement Act § 3(a)

cmt., 12 U.L.A. at 185 (2008) (“In addition to [the first] three categories of persons who derive


                                                 13
    2:22-cv-00874-DCN           Date Filed 06/06/22       Entry Number 14        Page 14 of 15




their standing from the explicit terms of the easement itself, the Act also recognizes that the state’s

other applicable law may create standing in other persons. For example, independently of the Act,

the Attorney General could have standing in his capacity as supervisor of charitable trusts, either

by statute or at common law.”).

       MST is not the Attorney General and South Carolina has not otherwise authorized private

citizens with no ownership interest in a parcel of land to bring an action affecting a conservation

easement on that land. Thus, MST does not have standing under Section 27-8-40(A)(4). See Hicks

v. Dowd, 157 P.3d 914, 921 (Wyo. 2007) (dismissing the case because the plaintiff did not have

standing to sue to enforce a charitable trust but inviting the Wyoming Attorney General, as

supervisor of charitable trusts in Wyoming “to reassess his position” regarding the case).

       Furthermore, the Conservation Easement itself, consistent with the South Carolina

Conservation Easement Act, only contemplates NALT having a right to enforce the Conservation

Easement. (See Compl., Ex. 1 at p.12 (“the easements and rights set forth in this Declaration unto

Grantee”); id. at p. 8 (“This Declaration gives rise to a property right and interest immediately

vested in the Grantee.”); id. at p. 7 (“Grantee shall have the right to enforce by proceedings at law

or in equity each and every one of the covenants and restrictions set forth in this Declaration.”);

id. at p. 1 (defining “Grantee” as “North American Land Trust.”)). As such, MST does not fall

under the category of persons or entities permitted to bring an action affecting a conservation

easement under Section 27-8-40(A)(4).

                                          CONCLUSION

       For the reasons stated above, MST does not have standing to bring its lawsuit which seeks

to declare the Amendment invalid and enforce the restrictions of the Conservation Easement on

the Hospital Property. As such, GMH requests the Court dismiss MST’s lawsuit in its entirety,




                                                  14
    2:22-cv-00874-DCN          Date Filed 06/06/22      Entry Number 14      Page 15 of 15




that GMH be awarded its expenses incurred in connection with this action, including its reasonable

attorneys’ fees, and for such other relief as this Court deems proper.



                                  NELSON MULLINS RILEY & SCARBOROUGH LLP


                                  By: s/Wesley T. Moran
                                     Wesley T. Moran
                                     Federal Bar No. 12797
                                      E-Mail: wes.moran@nelsonmullins.com
                                      3751 Robert M. Grissom Parkway / Suite 300
                                      Post Office Box 3939 (29578-3939)
                                      Myrtle Beach, SC 29577-6412
                                      (843) 448-3500

                                  Attorney for Defendant Georgetown Memorial Hospital




Myrtle Beach, South Carolina
June 6, 2022




                                                15
